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NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


  SCANNING TECHNOLOGIES
  INNOVATIONS LLC,                                Civil Action No. 22-1157 (SDW) (JSA)

                Plaintiff,
                                                  ORDER & DEFAULT JUDGMENT
  v.

  PEGASUS U.S.A. LLC,                             December 19, 2022

               Defendant.


WIGENTON, District Judge.

       Before this Court is Plaintiff Scanning Technologies Innovations LLC’s (“Plaintiff”)

Motion for Default Judgment against Defendant Pegasus U.S.A. LLC (“Defendant”) pursuant to

Federal Rule of Civil Procedure 55(b)(2). (D.E. 10.) This Court has reviewed Plaintiff’s

Complaint and all documents submitted with the present motion. Based on the foregoing, and for

the reasons stated in this Court’s Whereas Opinion dated December 19, 2022,

       IT IS on this 19th day of December 2022,

       ADJUDGED and DECREED that judgment is entered for Plaintiff and against

Defendant; and it is further

       ORDERED that Defendant shall pay Plaintiff damages in the amount of $50,000.00,

together with interest and costs.

       SO ORDERED.

                                                   s/ Susan D. Wigenton_______
                                                   SUSAN D. WIGENTON
                                                   UNITED STATES DISTRICT JUDGE
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Orig:      Clerk
cc:        Hon. Jessica S. Allen, U.S.M.J.
           Parties




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